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SOUTHERN DISTRICT OF NEW YORK                                       /     7
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THE BANK OF TOKYO-MITSUBISHI                                       17-Cv-8691 (SHS)
UFJ, LTD.,

                                    Plaintiff,

                  -against-                                        ORDER

MARIA VULLO, in her official capacity as
Superintendent Financial Services of the New York :
State Department of Financial Services,

                                    Defendant.
---------------------------------------------------------------x

SIDNEY H. STEIN, U.S. District Judge.

                  A pretrial conference having been held today, with counsel for all parties present,

                  IT IS HEREBY ORDERED that:

                  1.       The Office of the Comptroller of the Currency's motion for leave to file an

amicus curiae brief [ECF Doc.# 35] and to participate in oral arguments is granted;

                  2.       Defendant' s response to plaintiffs motion to dismiss defendant's

counterclaims [ECF Doc. # 31] is due on or before May 18, 2018; and

                  3.       Plaintiffs reply to its motion is due on or before June 9, 2018 .


Dated:       · New York, New York
               March 26, 2018
